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                    UNITED STATES COURT OF APPEALS
                        FOR THE SECOND CIRCUIT



VIRGINA L. GIUFFRE,

                     Plaintiff-Appellant,

                                                 Nos. 24-182 (L); 24-203
                     v.

GHISLAINE MAXWELL,

                    Defendant-Appellee.



           SUGGESTION OF DEATH OF VIRGINIA L. GIUFFRE

      Counsel for Appellant Virginia L. Giuffre (“Giuffre”) suggests on the record,

pursuant to Rule 43(a) of the Federal Rules of Appellate Procedure, that Giuffre

passed away on April 25, 2025. Counsel is still in the process of identifying the

decedent’s personal representative but believes that the Court should proceed on the

briefs in Giuffre’s appeal as previously filed before her death. Giuffre’s death should

not affect the Court’s resolution of the separate appeal filed by Appellants Julie

Brown and the Miami Herald.




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Dated:   May 5, 2025
         Fort Lauderdale, FL             Respectfully submitted,

                                         BOIES SCHILLER FLEXNER LLP

                                         /s/ Sigrid S. McCawley
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